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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


CHERYL SAGATAW,                                  Case No. 20-CV-02189 (ECT/JFD)
DEANTHONY BARNES, ROBERTA
STRONG, and TRAVIS NELOMS on behalf
of themselves and a class of
 similarly-situated individuals,                  FED. R. CIV. P. 26(a)(1)
                                              DISCLOSURES BY DEFENDANT
            Plaintiffs,                           MAYOR JACOB FREY
vs.
MAYOR JACOB FREY, in his individual and
official capacity
            Defendant.



      Pursuant to Fed. R. Civ. P. 26(a)(1), Defendant Minneapolis Mayor Jacob

Frey (“Defendant”) makes the following initial disclosures concerning the

disputed facts alleged with particularity in the pleadings.

                           INTRODUCTORY STATEMENT

      The following disclosures are made based on the information reasonably

available to Defendant as of the date hereof.       By making these disclosures,

Defendant does not represent that he is identifying every document, tangible

thing, or witness that he may possibly use to support his claims or defenses.

Defendant does not waive his right to object to production of any document or

tangible thing disclosed herein on the basis of any privilege, the work product


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doctrine, relevancy, undue burden, or any other valid objection. Defendant’s

disclosures represent a good faith effort to identify information he reasonably

believes he may use to support his claims or defenses, unless solely for

impeachment, as required by Rule 26(a)(1).

      Finally, Defendant’s disclosures are made without in any way waiving: (1)

the right to object on the grounds of competency, privilege, relevancy and

materiality, hearsay, data classification or any other proper ground, to the use of

any such information, for any purpose, in whole or in part, in any subsequent

proceeding in this action or any other action; and (2) the right to object on any and

all grounds, at any time, to any other discovery request or proceeding involving

or relating to the subject matter of these disclosures.

      All of the disclosures set forth below are made subject to the above

objections and qualifications.

A.    The name and, if known, the address and telephone number of each
      individual likely to have discoverable information—along with the subjects
      of that information—that Defendant may use to support his claims or
      defenses, unless the use would be solely for impeachment.

DEFENDANT’S DISCLOSURES: Minneapolis Mayor Jacob Frey, identifies the
following individuals, all of whom may be contacted through counsel:




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IDENTITY                        SUBJECT OF INFORMATION
Damon O. Chaplin,               Information regarding the City of Minneapolis’s
Commissioner of Health,         policies, response, and outreach efforts with
City of Minneapolis Health      respect to encampments of people experiencing
Department                      homelessness on City of Minneapolis-owned
                                land, and the condition of those encampments.

Suzanne Young, Senior           Information regarding the City of Minneapolis’s
Project Manager, City of        policies, response, and outreach efforts with
Minneapolis Health              respect to encampments of people experiencing
Department                      homelessness on City of Minneapolis-owned
                                land, and the condition of those encampments.

Maikao Vue, Manager of          Information regarding the City of Minneapolis’s
Housing Response                policies, response, and outreach efforts with
Coordinators, City of           respect to encampments of people experiencing
Minneapolis Regulatory          homelessness on City of Minneapolis-owned
Services Department             land, and the condition of those encampments.

Jose Acuna, Homeless            Information regarding the City of Minneapolis’s
Response Coordinator, City      policies, response, and outreach efforts with
of Minneapolis Health           respect to encampments of people experiencing
Department                      homelessness on City of Minneapolis-owned
                                land, and the condition of those encampments.

Erik Hansen, Director, City     Information regarding the City of Minneapolis’s
of Minneapolis Community        policies, response, and outreach efforts with
Planning and Economic           respect to encampments of people experiencing
Development                     homelessness on City of Minneapolis-owned
                                land, and the condition of those encampments.

Elfric Porte, II, Director of   Information regarding the City of Minneapolis’s
Housing Policy &                policies, response, and outreach efforts with
Development, City of            respect to encampments of people experiencing
Minneapolis Community           homelessness on City of Minneapolis-owned
Planning and Economic           land, and the condition of those encampments.
Development




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IDENTITY                      SUBJECT OF INFORMATION
Enrique Velazquez,            Information regarding the City of Minneapolis’s
Director Regulatory           policies, response, and outreach efforts with
Services, City of             respect to encampments of people experiencing
Minneapolis Regulatory        homelessness on City of Minneapolis-owned
Services Department           land, and the condition of those encampments.

David Herberholz,             Information regarding the City of Minneapolis’s
Director, City of             policies, response, and cleanup efforts with
Minneapolis Department of     respect to encampments of people experiencing
Public Works, Solid Waste     homelessness on City of Minneapolis-owned land,
and Recycling Division        and the condition of those encampments.

Chief Brian O’Hara, City of Information regarding the Minneapolis Police
Minneapolis Police          Department’s policies, response, and outreach
Department                  efforts with respect to encampments of people
                            experiencing    homelessness   on   City   of
                            Minneapolis-owned land, and the condition of
                            those encampments.
Assistant Chief Christopher Information regarding the Minneapolis Police
Gaiters, City of            Department’s policies, response, and outreach
Minneapolis Police          efforts with respect to encampments of people
Department                  experiencing    homelessness   on   City   of
                            Minneapolis-owned land, and the condition of
                            those encampments.
Assistant Chief Katie       Information regarding the Minneapolis Police
Blackwell, City of          Department’s policies, response, and outreach
Minneapolis Police          efforts with respect to encampments of people
Department                  experiencing    homelessness   on   City   of
                            Minneapolis-owned land, and the condition of
                            those encampments.
Commander Erick Fors,       Information regarding the Minneapolis Police
City of Minneapolis Police Department’s policies, response, and outreach
Department                  efforts with respect to encampments of people
                            experiencing    homelessness   on   City   of
                            Minneapolis-owned land, and the condition of
                            those encampments.




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IDENTITY                     SUBJECT OF INFORMATION
Deputy Chief Travis          Information regarding the Minneapolis Police
Glampe, City of              Department’s policies, response, and outreach
Minneapolis Police           efforts with respect to encampments of people
Department                   experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.

Commander                    Information regarding the Minneapolis Police
DeChristopher Granger,       Department’s policies, response, and outreach
City of Minneapolis Police   efforts with respect to encampments of people
Department                   experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.

Deputy Chief Jason Case,     Information regarding the Minneapolis Police
City of Minneapolis Police   Department’s policies, response, and outreach
Department                   efforts with respect to encampments of people
                             experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.

Deputy Chief Jonathan        Information regarding the Minneapolis Police
Kingsbury, City of           Department’s policies, response, and outreach
Minneapolis Police           efforts with respect to encampments of people
Department                   experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.

Deputy Chief Mark            Information regarding the Minneapolis Police
Montgomery, City of          Department’s policies, response, and outreach
Minneapolis Police           efforts with respect to encampments of people
Department                   experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.




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IDENTITY                     SUBJECT OF INFORMATION
Commander Monica             Information regarding the Minneapolis Police
Hanson, City of              Department’s policies, response, and outreach
Minneapolis Police           efforts with respect to encampments of people
Department                   experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.

Inspector Jose Gomez, City   Information regarding the Minneapolis Police
of Minneapolis Police        Department’s policies, response, and outreach
Department                   efforts with respect to encampments of people
                             experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.
Inspector Christie Nelson,   Information regarding the Minneapolis Police
City of Minneapolis Police   Department’s policies, response, and outreach
Department                   efforts with respect to encampments of people
                             experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.
Lieutenant John Haugland,    Information regarding the Minneapolis Police
City of Minneapolis Police   Department’s policies, response, and outreach
Department                   efforts with respect to encampments of people
                             experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.
Sergeant William Martin,     Information regarding the Minneapolis Police
City of Minneapolis Police   Department’s policies, response, and outreach
Department                   efforts with respect to encampments of people
                             experiencing homelessness on City of
                             Minneapolis-owned land, and the condition of
                             those encampments.
Fire Chief Bryan Tyner,      Information regarding the City of Minneapolis’s
City of Minneapolis Fire     policies and response, with respect to
Department                   encampments of people experiencing
                             homelessness on City of Minneapolis-owned
                             land, and the condition of those encampments.




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IDENTITY                    SUBJECT OF INFORMATION
Assistant Chief Melanie     Information regarding the City of Minneapolis’s
Rucker, City of             policies and response with respect to
Minneapolis Fire            encampments of people experiencing
Department                  homelessness on City of Minneapolis-owned
                            land, and the condition of those encampments.

Deputy City Operations      Information regarding the City of Minneapolis’s
Officer Brette Hjelle       policies, response, and outreach efforts with
                            respect to encampments of people experiencing
                            homelessness on City of Minneapolis-owned
                            land, and the condition of those encampments.

Narin Sihavong, Project     Information regarding the City of Minneapolis’s
Coordinator, City of        policies, response, and outreach efforts with
Minneapolis Community       respect to encampments of people experiencing
Planning and Economic       homelessness City of Minneapolis-owned land,
Development                 and the condition of those encampments.

Nicholas Gerold, General    Information regarding the City of Minneapolis’s
Foreman, City of            policies, response, and outreach efforts with
Minneapolis Department of   respect to encampments of people experiencing
Public Works, Solid Waste   homelessness on City of Minneapolis-owned
and Recycling Division      land, and the condition of those encampments.

Plaintiff Cheryl Sagataw    Information regarding her claims set forth in the
                            amended complaint.

Plaintiff DeAnthony Barnes Information regarding his claims set forth in the
                           amended complaint.

Plaintiff Roberta Strong    Information regarding her claims set forth in the
                            amended complaint.

Plaintiff Travis Neloms     Information regarding his claims set forth in the
                            amended complaint.




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Defendant Mayor Jacob Frey reserves the right to designate additional
individuals, including: those identified by other parties in their Rule 26 initial
disclosures or responses to discovery in this matter; persons identified in
documents produced or disclosed in this matter; and persons whose identities
may become known as investigation and discovery continue.

B.    A copy of, or a description by category and location of, all documents, data
      compilations and tangible things in the possession, custody, or control of
      the Defendant and that Defendant may use to support his claims or
      defenses, unless solely for impeachment.


Relevant body worn camera footage and city surveillance footage of encampment
closures. Footage will be produced on a rolling basis concurrent with the issuance
of a protective order.

Communications to City of Minneapolis employees from residents and businesses
about the conditions at and effect of encampments on the surrounding
community. Documents will be produced on a rolling basis after the issuance of
a protective order.

Police reports and 911 calls documenting the calls for service at the encampment
locations. Documents will be produced on a rolling basis after the issuance of a
protective order.

Any documents relating to health conditions or public safety conditions at or near
the encampment locations.

Any document referenced in the City’s Oppositions to the Plaintiffs’ motions for
temporary restraining orders.


C.    A computation of all damages claimed by the Defendant, including
      materials bearing on the nature and extent of injuries suffered.
      Not applicable.


D.    Any insurance agreement which may cover all or part of the judgment or to
      indemnify or reimburse payments made to satisfy the judgment.

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     The City of Minneapolis is self-insured.



Dated: June 17, 2024                       KRISTYN ANDERSON
                                           City Attorney
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                                           HEATHER P. ROBERTSON (#390470)
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                                           Attorneys for Defendant Mayor Jacob Frey




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